






NO. 07-05-0157-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



APRIL 25, 2006


______________________________



BRENDA THAXTON,



									Appellant


v.



THE STATE OF TEXAS, 



									Appellee

_________________________________



FROM THE 69TH DISTRICT COURT OF DALLAM COUNTY;



NO. 3676; HON. RON ENNS, PRESIDING


_______________________________



Opinion


_______________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

	Brenda Thaxton (appellant) appeals her conviction for injury to a child and the
deadly weapon finding of the jury.  The conviction involved appellant's failure to protect her
two-year-old son from the continual, heinous, and obvious brutality visited upon him by her
live-in boyfriend.  The assaults culminated in the death of the child.  No one contends that
appellant personally struck or otherwise assaulted her son, only that she did not stop her
boyfriend from beating him.  Nor does anyone contend that she encouraged, aided, or
assisted in the beatings via means other than by not preventing them.  And, those are the
circumstances underlying her two issues on appeal.  Through them, appellant asserts that
the evidence was legally and factually insufficient to support the jury's finding that she used
or exhibited a deadly weapon when neglecting to protect the child from her boyfriend.  We
sustain the first issue and modify the judgment.

	Through the charge, the jurors were asked whether appellant  "knowingly, by
omission, cause[d] serious bodily injury [to her son] . . . by failing to remove [him] from the
presence of Nathan Felder, a person [she] knew posed a threat to the health and safety
of [her son], . . . at a time when [she] had a legal duty to act because [she] was the mother
. . . ."  So too were they asked if "[d]efendant did use or exhibit a deadly weapon, to wit: the
hand or hands of Nathan Felder and/or a blunt object . . . during the commission of the
offense . . . ."  Both questions were answered in the affirmative.  Yet, according to
appellant, the jury could not so answer the latter.  The reasons for this are twofold.  First,
one cannot, as a matter of law, use a deadly weapon when performing crimes of omission. 
We immediately reject this contention for the Court of Criminal Appeals has held otherwise. 
Hill v. State, 913 S.W.2d 581, 583 (Tex. Crim. App. 1996) (holding that the use of belts,
chains, and locks to prevent the child from eating constituted the use of a deadly weapon
in denying food to the child).

	Appellant's second ground, however, is more problematic.  Through it, she asserts
that one cannot find that she used a deadly weapon when the weapon contemplated was
actually wielded by another, and the State omitted (as it did here) to secure a party charge. 
We agree under the circumstances present here.

	As previously mentioned, the offense charged and submitted to the jury consisted
of appellant causing her son "serious bodily injury . . . by failing to remove [him] from the
presence of Nathan Felder . . . ."  Furthermore, the jury had to decide if the "Defendant did
use or exhibit a deadly weapon" during the commission of the offense.  (Emphasis added). 
So, it was incumbent upon the State to prove, beyond reasonable doubt, that appellant
herself (not her boyfriend or anyone else) "use[d] or exhibited" the deadly weapon.  See
Hill v. State, 913 S.W.2d at 583 (acknowledging that the State had to prove "beyond a
reasonable doubt appellant used a deadly weapon").  And, it could have satisfied that
burden by illustrating appellant in any way employed, applied, or utilized the weapon or
possessed it "if such possession facilitat[ed] the associated felony," Coleman v. State, 145
S.W.3d 649, 652 (Tex. Crim. App. 2004) (so defining the term "use"); Hill v. State, 913
S.W.2d at 583 (similarly defining the term), or consciously showed, displayed or presented
the weapon.  Coleman v. State, 145 S.W.3d at 652 (so defining the term "exhibit").  

	Here, the evidence illustrates that Felder, not appellant, struck the child with either
his hands or some blunt instrument.  Simply put, he is the one that used the deadly
weapon.  There is no evidence of appellant somehow grasping, manipulating, utilizing,
controlling, employing, applying, or consciously showing or displaying her boyfriend's
hands or a blunt object to either 1) create a condition necessitating action, see Hill v. State,
supra, (wherein the chains and belts were used to restrain the child and thereby create the
condition that required the parents to act), or 2) facilitate her personal neglect once the
need to act arose.  And, without that evidence or at least an allegation that she was a party
to the offense committed by Felder, the State failed to carry its burden to prove she
personally used or exhibited the deadly weapon.     

	We acknowledge the heinous nature of the crimes committed upon the child as well
as the myriad and novel arguments posed by the State to secure affirmance.  Yet, we
cannot escape that which the State concedes in its appellate brief.  The situation before
us "has not been specifically addressed by [penal] statute . . . ."  So, while the State urges
that logic, policy, and reason support acceptance of the findings and judgment, none of
those indicia empower us to rewrite the penal laws of Texas or sua sponte create a penal
law.  That job belongs to the legislature.

	In sum, when the State charges one as a principal (as opposed to a party) and tries
one for personally using or exhibiting a deadly weapon, it must prove, beyond reasonable
doubt, that the accused personally used or exhibited the weapon.  And, while the State
undertook the former here, it failed in the latter.  So, because no evidence exists upon
which a rational jury could reasonably conclude that appellant used or exhibited the deadly
weapon during or immediately after omitting to help her child, the jury's finding that she did
lacks the support of legally sufficient evidence.

	We strike from the judgment the finding that appellant used or exhibited a deadly
weapon and otherwise affirm the judgment and conviction as modified.  See Drichas v.
State, 175 S.W.3d 795, 798 (Tex. Crim. App. 2005) (allowing the appellate court to strike
the deadly weapon finding when it lacks the support of legally sufficient evidence).

  


							Brian Quinn

Publish.					          Chief Justice



consideration on direct appeal.


